Case 6:16-cr-00180-RBD-RMN Document 1 Filed 09/14/16 Page 1 of 6 PageID 1
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                       UNITED STATES DISTRICT COURT
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                        MIDDLE DISTRICT OF FLORIDA                   lJ~~   015 iHlG T COURT
                             ORLANDO DIVISION                    MIDDLE DISTRICT OF FLORIDA
                                                                     ORLAtmo. FLORIDA
 UNITED STATES OF AMERICA

 v.                                        CASE NO.      6:16-cr- 1<oo -o eL-3/AJll-
                                                         18 U.S .C. § 1956(h)
 JAMES LONG                                              18 U.S.C. § 982 - Forfeiture

                                  INFORMATION

        The United States Attorney charges:

                                    COUNT ONE

        From in or about June 2010, and continuing through on or about June 14,

 2013, in Seminole County, in the Middle District of Florida, and elsewhere,

                                   JAMES LONG

 the defendant herein, did       knowingly and     voluntarily combine, conspire,

 confederate and agree with other known and unknown persons , to commit the

 following offenses against the United States:

               (a)   to knowingly conduct and attempt to conduct a financia l

 transaction, which affected interstate and foreign commerce, involving the

 proceeds of a specified unlawful activity, that is, conspiracy to distribute and

 dispense, and cause the distribution and dispensing of, controlled substances, in

 violation of Title 21, United States Code, Sections 841 (a)(1) and 846 and Title 18,

 United States Code, Section 2, knowing that the funds involved in the financia l

 transaction represented the proceeds of some form of unlawful activity, and

 knowing that the transaction was designed in whole and in part to concea l and

 disguise the nature, location, source, ownership, and control of the proceeds of
Case 6:16-cr-00180-RBD-RMN Document 1 Filed 09/14/16 Page 2 of 6 PageID 2




 specified unlawful activity, contrary to Title 18, United States Code, Section

 1956(a)(1 )(B)(i);

                (b)   to knowingly conduct and attempt to conduct a financial

 transaction, which affected interstate and foreign commerce, involving the

 proceeds of a specified unlawful activity, that is, conspiracy to distribute and

 dispense, and cause the distribution and dispensing of, controlled substances, in

 violation of Title 21, United States Code, Sections 841(a)(1) and 846 and Title 18,

 United States Code, Section 2, knowing that the funds involved in the financial

 transaction represented the proceeds of some form of unlawful activity, and

 knowing that the transaction was designed in whole and in part to avoid a

 transaction reporting requirement under State and Federal law, contrary to Title

 18, United States Code, Section 1956(a)(1 )(B)(ii); and

                (c)   to knowingly engage and attempt to engage in a monetary

 transaction, within the United States, which affected interstate commerce, in

 criminally derived property of a value greater than $10,000.00, which property was

 derived from a specified unlawful activity, that is, conspiracy to distribute and

 dispense, and cause the distribution and dispensing of, controlled substances, in

 violation of Title 21, United States Code, Sections 841(a)(1) and 846 and Title 18,

 United States Code, Section 2, knowing that the transaction involved property and

 funds that were the proceeds of some criminal activity, contrary to Title 18, United

 States Code, Section 1957.

         All in violation of Title 18, United States Code, Section 1956(h).




                                          2
Case 6:16-cr-00180-RBD-RMN Document 1 Filed 09/14/16 Page 3 of 6 PageID 3




                                        FORFEITURE

        1.        The allegations contained in Count One of this Information are

 incorporated by reference for the purpose of alleging forfeitures pursuant to Title

 18, United States Code, Section 982(a)(1 ).

        2.        Upon conviction of a violation of Title 18, United States Code,

 Section 1956(h), the defendant, JAMES LONG, shall forfeit to the United States of

 America, pursuant to Title 18, United States Code, Section 982(a)(1), any

 property, real or personal, involved in the money laundering conspiracy and all

 property traceable to such property.

        3.        Specifically, the property to be forfeited includes, but is not limited to,

 the following:

                  a.     Approximately $8,851.35 seized from SunTrust account

                         #1000143611597, held in the name of JAMES LONG and

                         Brandy Long;

                  b.     Approximately $8,589.10 seized from Wells Fargo account

                         #1010300202160, held in the name of JAMES LONG and

                         Brandy Long;

                  c.     Approximately $1,895.25 seized from Wells Fargo savings

                         account #1010300202157, held in the name of JAMES LONG

                         and Brandy Long;

                  d.     Approximately $3,099.40 seized from SunTrust account

                         #1000143612355, held in the name of BMS Enterprises, LLC;

                  e.     Jackson National Life Insurance, Non-Tax Qualified Policy



                                               3
Case 6:16-cr-00180-RBD-RMN Document 1 Filed 09/14/16 Page 4 of 6 PageID 4




                   #1009012598, held in the name of JAMES LONG;

             f.    Jackson National Life Insurance Individual Retirement

                   Annuity policy #1009012628, held in the name of Brandy

                   Long;

             g.    Jackson National Life Insurance Individual Retirement

                   Annuity policy #1009012636, held in the name of JAMES

                   LONG;

             h.    1690 Sawgrass Drive Southwest, Palm Bay, Florida, titled in

                   the name of BMS Enterprises, LLC;

             i.    784 Trinidad Avenue Southeast, Palm Bay, Florida, titled in

                   the name of BMS Enterprises, LLC;

             j.    2310 Wood Street, Melbourne, Florida, titled in the name of

                   BMS Enterprises, LLC;

             k.    742 Donau Avenue Northwest, Palm Bay, Florida, titled in the

                   name of BMS Enterprises, LLC;

             I.    765 Hall Road, Malabar, Florida, titled in the name of Brandy

                   A. Long and JAMES T. LONG;

             m.    117 Ridgemont Circle Southeast, Palm Bay, Florida, titled in

                   the name of Brandy A. Long and JAMES T. LONG;

             n.    3740 Corey Road, Grant Valkaria, Florida, titled in the name

                   of JAMES T. LONG and Brandy Long;

             o.    712 Norse Street Northwest, Palm Bay, Florida, titled in the

                   name of JAMES T. LONG and Brandy Long;



                                      4
Case 6:16-cr-00180-RBD-RMN Document 1 Filed 09/14/16 Page 5 of 6 PageID 5




              p.     2004 Chevrolet Silverado, VIN 1GCHC29U74E347751;

              q.     2013 Chevrolet Silverado, VIN 3GCPKSE79DG270209; and

              r.     $10, 140.00 in United States currency seized on or about June

                     14, 2014, from 765 Hall Road, Malabar, Florida.

       4.     If any of the property described above, as a result of any act or

 omission of the defendant:

              a.    cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third

                    party;

              c.     has been placed beyond the jurisdiction of the court;

              d.     has been substantially diminished in value; or

              e.     has been commingled with other property which cannot be

                    divided without difficulty,




                                         5
Case 6:16-cr-00180-RBD-RMN Document 1 Filed 09/14/16 Page 6 of 6 PageID 6




 the United States of America shall be entitled to forfeiture of substitute property

 pursuant to Title 21 , United States Code, Section 853(p) , as incorporated by Title

 18, United States Code, Section 982(b)( 1).

                                               A. LEE BENTLEY 11 1
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                                               United States Attorney


                                       By: ~--­llianys Rivera Miranda
                                               Assistant United States Attorney


                                       By:
                                               Katherine M. Ho
                                               Assistant United States Attorney
                                               Chief, Orlando Division




                                          6
